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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

David Cotten, James Robinson and Carolyn Cain :
on behalf of themselves and all others similarly :
situated,                                        :
                                                 :
                                                 :
                  Plaintiffs,                    :
                                                 :
                                                   Case No. 1:16-cv-12176-RGS
                                                 :
                                                 :
vs.
                                                 :
                                                 :
                                                 :
Blue Cross and Blue Shield of Massachusetts      :
HMO Blue, Inc. and Blue Cross and Blue Shield :
of Massachusetts, Inc.                           :
                                                 :
                     Defendants.


              STIPULATION OF VOLUNTARY DISMISSAL PURSUANT TO
                         FED. R. CIV. PRO. 41(A)(1)(a)(II)

        Each party hereby stipulates that all of the individual Plaintiffs’ claims against Defendants in

the above entitled action are voluntarily dismissed with prejudice pursuant to Fed. R. Civ. Pro.

41(a)(1)(A)(ii), with each party to bear its own costs.

Dated: February 21, 2019                              Respectfully submitted,

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